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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   WESTERN DISTRICT OF OKLAHOMA


UNITED STATES OF AMERICA,                   )
                                            )
                    Plaintiff,              )
                                            )
vs.                                         )   CIV-18-589-D
                                            )
DARCIE E’LAINE HENDREN, a/k/a               )
DARCIE HENDREN, et al.,                     )
                                            )
                    Defendants.             )


                        NOTICE OF HEARING ON
                MOTION TO CONFIRM U.S. MARSHAL'S SALE

NOTICE IS GIVEN TO:

DARCIE E’LAINE HENDREN, a/k/a DARCIE HENDREN; TY DARRELL HENDREN;
EXCHANGE BANK & TRUST COMPANY; MORTGAGE ELECTRONIC
REGISTRATION SYSTEMS, INC.; ENVOY MORTGAGE; VELOCITY
INVESTMENTS, LLC; ACCOUNT MANAGEMENT RESOURCES, LLC; PAYNE
COUNTY TREASURER; BOARD OF COUNTY COMMISSIONERS OF PAYNE
COUNTY; ZACH BAHM; and ROBERT BAHM.

      A hearing on the Motion to Confirm U.S. Marshal's Sale of the following real estate:

            The Southeast Quarter (SE/4) of the Southwest Quarter (SW/4)
            of Section Four (4), Township Nineteen (19) North, Range
            Two (2) East of the I.M., Payne County, State of Oklahoma,
            according to the U.S. Government Survey thereof, LESS AND
            EXCEPT:

            A Tract of land in the Southeast Quarter (SE/4) of the
            Southwest Quarter (SW/4) of Section Four (4), Township
            Nineteen (19) North, Range Two (2) East of the I.M.,
            beginning at the SE/corner of the SE/4 of the SW/4 of said
            Section 4; thence North a distance of 730.83 feet; thence West
            a distance of 582.35 feet; thence South a distance of 730.83
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             feet; thence East a distance of 582.35 feet to the Point of
             Beginning.
             AND
             A tract of land in the Southeast Quarter (SE/4) of the Southwest
             Quarter (SW/4) of Section Four (4), Township Nineteen (19)
             North, Range Two (2) East of the I.M., beginning at a point on
             the East line of said SE/4 of the SW/4 a distance of 730.83 feet
             North of the Southeast Corner of said SE/4 of the SW/4; thence
             North along said East line of the SE/4 of the SW/4 a distance
             of 17.18 feet; thence West 582.35 feet parallel to the South line
             of said SE/4 of the SW/4; thence South parallel to the East line
             of said SE/4 of the SW/4 a distance of 17.18 feet; thence East
             parallel to the South line of said SE/4 of the SW/4 a distance
             of 582.35 feet to the Point of Beginning.

             AND

             The East Half (E/2) of the North Half (N/2) of the Southwest
             Quarter (SW/4) of the Southwest Quarter (SW/4) of Section
             Four (4), Township Nineteen (19) North, Range Two (2) East
             of the Indian Meridian, Payne County, State of Oklahoma,
             according to the U.S. Government Survey thereof.

is set for December 18, 2019, at 8:45 A.M. before the Honorable Timothy D. DeGiusti at

the United States Courthouse, 200 N.W. 4th Street, Oklahoma City, OK 73102.

                                         TIMOTHY J. DOWNING
                                         UNITED STATES ATTORNEY

                                    s/KAY SEWELL
                                    BAR NUMBER: OBA #10778
                                    ASSISTANT U.S. ATTORNEY
      UNITED STATES ATTORNEY'S OFFICE  WESTERN DISTRICT OF OKLAHOMA
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                            CERTIFICATE OF SERVICE

 X           I hereby certify that on November 22, 2019, a true copy of this pleading was
             electronically transmitted to the Clerk of the District Court using the ECF
             System for filing and transmittal of a Notice of Electronic Filing to these
             parties and counsel registered on ECF:

Lowell A. Barto, Counsel for Payne County Treasurer and Board of County
Commissioners of Payne County
Trace Morgan, Counsel for Exchange Bank & Trust Company
Blake C. Parrott, Counsel for Envoy Mortgage
Emily R. Coughlin, Counsel for Account Management Resources, LLC

 X           I hereby certify that a true copy of this pleading was mailed, postage prepaid,
             via U.S. regular mail, on November 22, 2019, to each of the parties or counsel
             as indicated below, who are not registered on the Court's ECF system:

Darcie E'Laine Hendren, a/k/a Darcie Hendren
3210 West Lakeview Road
Stillwater, OK 74075

Ty Darrell Hendren
3210 West Lakeview Road
Stillwater, OK 74075

Mortgage Electronic Registration Systems, Inc.
Attn: Service Agent
PO Box 2026
Flint, MI 48501-2026

Velocity Investments, LLC
Attn: Service Agent
10300 Greenbriar Place
Oklahoma City, OK 73159

Zach Bahm
Robert Bahm
10818 E. McElroy
Stillwater, OK 74075


                                                        s/Kay Sewell
                                                        Assistant U.S. Attorney
